            Case 1:22-cr-00092-DLF Document 44 Filed 03/13/23 Page 1 of 3




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                            )
                                                    )
       v.                                           )      CR. NO. 1:22-cr-92-DLF-1
                                                    )
BRIAN GLENN BINGHAM                                 )


                     MOTION TO WITHDRAW AND MOTION FOR
                     APPOINTMENT OF SUBSTITUTE COUNSEL

       NOW COMES the Federal Defenders, Middle District of Alabama, by and through

undersigned counsel, Sandi Y. Dawson, and respectfully moves the Court for an order allowing

her and the Federal Defenders, Middle District of Alabama to withdraw as appointed counsel for

Defendant Brian Glenn Bingham due to irreconcilable differences.

       On March 13, 2023, Mr. Bingham requested paperwork to end his relationship with

undersigned counsel. He made this request via text message and refuses to speak with undersigned

counsel by telephone. Mr. Bingham further requested that the court be made aware that

undersigned counsel is unable to understand what he requested in this and other text messages.

       Mr. Bingham has not yet determined whether he will retain private counsel or needs

substitute counsel appointed to represent him. Should he need appointed counsel, CJA Panel

Attorney Donnie Wayne Bethel has agreed to accept appointment to Mr. Bingham’s case if the

Court approves.

       Mr. Bingham is being served with a copy of this motion via email and United States Postal

Service.

       WHEREFORE, undersigned counsel respectfully requests an order relieving her as

counsel of record and appointing CJA Panel Donnie Wayne Bethel as counsel for Defendant. In
          Case 1:22-cr-00092-DLF Document 44 Filed 03/13/23 Page 2 of 3




the alternative, undersigned counsel respectfully requests a hearing be set in two weeks, which

would provide Mr. Bingham ample time to determine whether he will retain counsel.

       Dated this 13th day of March 2023.


                                             Respectfully submitted,

                                             s/ Sandi Y. Dawson
                                             SANDI Y. DAWSON
                                             Bar No.: CA292946
                                             Federal Defenders
                                             Middle District of Alabama
                                             817 South Court Street
                                             Montgomery, AL 36104
                                             TEL: (334) 834-2099
                                             FAX: (334) 834-0353
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            Case 1:22-cr-00092-DLF Document 44 Filed 03/13/23 Page 3 of 3




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                             )
                                                     )
       v.                                            )      CR. NO. 1:22-cr-92-DLF-1
                                                     )
BRIAN GLENN BINGHAM                                  )


                                CERTIFICATE OF SERVICE

       I hereby certify that on March 13, 2023, I electronically filed the foregoing with the Clerk

of the Court using the CM/ECF system, which will send notification of such filing to all counsel

of record. I further certify that the foregoing is being served upon Mr. Brian Glenn Bingham.

                                             Respectfully submitted,

                                             s/ Sandi Y. Dawson
                                             SANDI Y. DAWSON
                                             Bar No.: CA292946
                                             Federal Defenders
                                             Middle District of Alabama
                                             817 South Court Street
                                             Montgomery, AL 36104
                                             TEL: (334) 834-2099
                                             FAX: (334) 834-0353
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